
But the Court were clearly of opinion that, under the circum stances of the case, the deputy was under no such * obligation; the special direction given him to attach the lumber excusing him from making any other attachment whatever. If, when he informed the plaintiffs attorney that lie had attached the vessel on his writ, he supposed it was his duty so to have done, because that writ was first in his hands, and after-wards, upon taking advice, he found he was wrong, — he had aright to make his return according to the fact, and to the rights of the parties ; and he cannot be chargeable, as for a false return, merely because he had stated the order of the attachments differently, un der a misapprehension of his duty, (a)

 Vide Turner vs. Austin, 16 Mass. Rep. 181.

